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                       IN THE UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

LOUJAIN HATHLOUL ALHATHLOUL,                     Case No. 3:21-cv-01787-IM

                        Plaintiff,               DEFENDANTS’ MOTION TO DISMISS
       v.                                        AND MEMORANDUM OF LAW IN
                                                 SUPPORT
DARKMATTER GROUP, MARC BAIER,
RYAN ADAMS, and DANIEL GERICKE,
                                                 REQUEST FOR ORAL ARGUMENT
                        Defendants.


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                             LOCAL RULE 7-1 CERTIFICATION

       The undersigned counsel hereby certifies that on May 19, 2022, counsel discussed the

substance of this Motion with counsel for Plaintiffs. The parties were unable to resolve the dispute.

                                             MOTION

       Defendants DarkMatter Group (“DarkMatter”), Marc Baier, Ryan Adams, and Daniel

Gericke hereby move this Court to dismiss this case pursuant to Fed. R. Civ. P. 12(b).

                                        INTRODUCTION

       Plaintiff Loujain Hathloul Alhathloul, a Saudi activist who resides abroad, brings this suit

against Defendants DarkMatter (a United Arab Emirates company with no U.S. presence) and

three former DarkMatter employees (who all reside abroad). Plaintiff alleges that DarkMatter

hacked her phone when she was located in the UAE, causing her harm in the UAE and Saudi

Arabia. Despite the wholly foreign nature of her claims and the foreign residence of all parties,

Plaintiff brings suit in the United States. This case should not proceed beyond the pleadings stage,

as her claims are fatally deficient in multiple respects.

       First, Plaintiff’s transparent attempt to manufacture personal jurisdiction in the United

States should be rejected. Her complaint alleges no jurisdictionally significant connection between

Defendants, this litigation, and the United States. She thus fails to show that this Court has

jurisdiction over DarkMatter or its former employees (including Defendant Ryan Adams, whom

Plaintiff incorrectly states is domiciled in Oregon). Indeed, the only U.S. connection Plaintiff

alleges is the happenstance that certain text messages allegedly sent by DarkMatter from a location

abroad passed through U.S. servers, which allegedly later caused her to suffer harm in foreign

countries. But under well-established law, such allegations are insufficient to establish personal

jurisdiction in the United States. Otherwise, the United States would become the universal forum

for a potentially limitless number of claims involving electronic communications between wholly

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foreign parties. That explains why the Ninth Circuit “has never decided that personal jurisdiction

is proper over a private foreign entity solely because that entity engaged in tortious conduct from

a location outside of the United States by remotely accessing servers located in the United States.”

Hungerstation LLC v. Fast Choice LLC, 857 F. App’x 349, 351 (9th Cir. 2021). This case should

not be the first.

        Second, Plaintiff fails to state any plausible claim for relief. Plaintiff’s first claim, for

violation of the Computer Fraud and Abuse Act (CFAA), should be dismissed because her

“information and belief” allegations fail to connect any of the Defendants to the alleged hacking

of Plaintiff’s phone, and cannot satisfy the statutory “loss” standard in any event. Plaintiff’s second

claim, for conspiracy to violate the CFAA, is also barred—not only because the underlying claim

is deficient, but also because of the fundamental principle that a corporation cannot conspire with

its own employees as a matter of law.

        Third, the Court lacks jurisdiction over Plaintiff’s third claim, under the Alien Tort Statute,

both because it is impermissibly extraterritorial and because it seeks an unprecedented expansion

of liability that would force this Court to adjudicate the legality of the actions of foreign sovereigns

taken in their own territories.

        Finally, if Plaintiff’s agency allegations are accepted as true—as they must be—Defendants

are entitled to common law conduct-based immunity

        The Court should thus dismiss Plaintiff’s claims with prejudice.

                                          BACKGROUND

        Plaintiff alleges that in late 2015 or early 2016, the UAE government retained Defendant

DarkMatter, a UAE company, to provide cybersecurity services. (See Complaint (ECF 1) ¶¶ 6,

67.) Around the same time, Defendants Marc Baier, Ryan Adams, and Daniel Gericke, who had



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previously worked for a U.S. company that provided similar services for the UAE government,

joined DarkMatter as employees. (See id. ¶ 69.)

       According to Plaintiff’s “information and belief” allegations, at some point before March

2018, DarkMatter allegedly hacked (from the UAE) her iPhone (located in the UAE) by sending

an “iMessage” to Plaintiff’s “Messages” application. (See ECF 1 ¶¶ 87-104; see, e.g., id. ¶ 104

(“On information and belief, DarkMatter . . . deploy[ed] an iOS exploit and malware to Ms.

Alhathloul’s device[.]”); id. ¶ 112 (“On information and belief, this malware . . . allowed

DarkMatter to receive real-time location information to monitor the movements and whereabouts

of Ms. Alhathloul.”); id. ¶¶ 103, 108, 109, 110 (“information and belief”)). She does not allege

that Defendants directed their conduct to the United States specifically.

       Plaintiff alleges that the hack eventually led to her arrest in the UAE, rendition to Saudi

Arabia, and detention and torture there. (Id. ¶¶ 117-118, 122-124.) She asserts claims against all

Defendants for violating and conspiring to violate the CFAA (counts one and two), and a claim

solely against Baier, Adams, and Gericke under the ATS (count three). (Id. pp. 32-38.)

                                          ARGUMENT

I.     THE COURT LACKS PERSONAL JURISDICTION OVER ALL DEFENDANTS

       A. Legal Standard

       “In opposing a defendant’s motion to dismiss for lack of personal jurisdiction” under Rule

12(b)(2) of the Federal Rules of Civil Procedure, “the plaintiff bears the burden of establishing

that jurisdiction is proper.” Mavrix Photo, Inc. v. Brand Technologies, Inc., 647 F.3d 1218, 1223

(9th Cir. 2011). The court must resolve “conflicts between the parties” in the plaintiff’s favor when

the plaintiff provides some evidence to support her position, Schwarzenegger v. Fred Martin Motor

Co., 374 F.3d 797, 800 (9th Cir. 2004), but “disputed allegations in the complaint that are not



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supported with evidence or affidavits cannot establish jurisdiction,” AMA Multimedia, LLC v.

Wanat, 970 F.3d 1201, 1207 (9th Cir. 2020).

       Under Rule 4(k)(2), “[f]or a claim that arises under federal law,” a court may exercise

personal jurisdiction over a defendant “not subject to jurisdiction in any state’s courts of general

jurisdiction” if “exercising jurisdiction is consistent with the United States Constitution and laws.”

FED. R. CIV. P. 4(k)(2). Thus, Rule 4(k)(2) requires (1) a federal claim, (2) a defendant not subject

to personal jurisdiction in any state, and (3) that “the federal court’s exercise of personal

jurisdiction . . . comport[s] with due process.” Holland Am. Line Inc. v. Wartsila N. Am., Inc., 485

F.3d 450, 461 (9th Cir. 2007). Because the first two requirements are undisputed with respect to

all Defendants except Adams (see infra pp. 13-14), only due process is at issue here.

       Consistent with due process, courts can exercise “two kinds of personal jurisdiction:

general (sometimes called all-purpose) jurisdiction and specific (sometimes called case-linked)

jurisdiction.” Ford Motor Co. v. Montana Eighth Jud. Dist. Ct., 141 S. Ct. 1017, 1024 (2021). For

specific jurisdiction—the only form of jurisdiction Plaintiff alleges with respect to all Defendants

besides Adams—“[d]ue process requires that a defendant who is not present in the forum has

‘certain minimum contacts’ with the forum ‘such that the maintenance of the suit does not offend

traditional notions of fair play and substantial justice.’” AMA, 970 F.3d at 1208 (quoting

International Shoe Co. v. Washington, 326 U.S. 310, 316 (1945)). The inquiry under Rule 4(k)(2)

is “nearly identical to the traditional personal jurisdiction analysis with one significant difference:

rather than considering contacts between [the defendant] and the forum state, [courts] consider

contacts with the nation as a whole.” AMA, 970 F.3d at 1208 (quoting Holland Am. Line, 485 F.3d

at 462); see also Glencore Grain Rotterdam B.V. v. Shivnath Rai Harnarain Co., 284 F.3d 1114,

1126 (9th Cir. 2002) (“[T]he rule provides for what amounts to a federal long-arm statute in a



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narrow band of cases in which the United States serves as the relevant forum for a minimum

contacts analysis.”).

       The minimum contacts test requires a plaintiff to satisfy each of three elements:

       (1)     The non-resident defendant must purposefully direct his activities or
               consummate some transaction with the forum or [a] resident thereof; or
               perform some act by which he purposefully avails himself of the privilege
               of conducting activities in the forum, thereby invoking the benefits and
               protections of its laws;

       (2)     the claim must be one which arises out of or relates to the defendant’s
               forum-related activities; and

       (3)     the exercise of jurisdiction must comport with fair play and substantial
               justice, i.e., it must be reasonable.

Freestream Aircraft (Bermuda) Ltd. v. Aero Law Grp., 905 F.3d 597, 603 (9th Cir. 2018).

       B. The Court Lacks Personal Jurisdiction Over DarkMatter

       Without asserting any particular theory of personal jurisdiction, Plaintiff alleges that

exercising jurisdiction over DarkMatter would be “consistent with the Constitution and United

States law.” (ECF 1 ¶ 11.) On the contrary, Plaintiff’s allegations against DarkMatter fail to satisfy

each prong of the “minimum contacts” test.

               1. DarkMatter Did Not Purposefully Direct Any Activities At The United States

       Under the first prong, when a plaintiff’s claims “sound in tort,” the relevant question is

whether the non-resident defendant “purposefully directed activities at the United States.” AMA,

970 F.3d at 1208; see also Burton v. Air France – KLM, No. 3:20-cv-1085-IM, 2020 WL 7212566,

at *3 (D. Or. Dec. 7, 2020) (purposeful direction analysis applies to intentional torts). When the

“allegedly tortious conduct takes place outside the forum” and allegedly “has effects inside the

forum,” the Ninth Circuit determines purposeful direction based on an “effects test[.]” AMA, 970

F.3d at 1208 (citing Calder v. Jones, 465 U.S. 783 (1984)). “Under this test, the defendant

allegedly must have (1) committed an intentional act, (2) expressly aimed at the forum . . . , [and]

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(3) causing harm that the defendant knows is likely to be suffered in the forum[.]” Id. at 1209

(internal quotation marks omitted). “[R]andom, fortuitous, or attenuated contacts” with the United

States, or unilateral “contacts between the plaintiff (or third parties) and the forum,” cannot support

jurisdiction. Walden v. Fiore, 571 U.S. 277, 284, 286 (2014); see id. at 284 (“[T]he relationship

must arise out of contacts that the defendant himself creates with the forum,” not conduct by third

parties) (internal quotation marks omitted).

       As explained below, although Plaintiff alleges “intentional acts,” she cannot show that

DarkMatter “expressly aimed” them at the forum, or that they “caus[ed] harm” in the forum.

                   a. DarkMatter’s Alleged Conduct Was Not “Expressly Aimed” At The
                      United States

       Plaintiff has not plausibly alleged that DarkMatter “aim[ed]” any “intentional conduct” at

the United States. See AMA, 970 F.3d at 1209 n.5. There is no dispute that DarkMatter does not

do business in the United States, operate offices in the United States, or have employees in the

United States. Instead, Plaintiff attempts to manufacture jurisdiction based on DarkMatter’s

alleged use of Apple servers located in the United States to gain access to the data in her iPhone.

       But the Ninth Circuit “has never decided that personal jurisdiction is proper over a private

foreign entity solely because that entity engaged in tortious conduct from a location outside of the

United States by remotely accessing servers located in the United States.” Hungerstation, 857 F.

App’x at 351 (rejecting such a theory). As in Hungerstation, the sole alleged connection between

DarkMatter and the United States shows that “the location of the servers was fortuitous.” Id. Such

fortuitous contacts with a U.S. server alone, however, have never given rise to U.S.-based

jurisdiction. See id.; see also Broidy Cap. Mgmt., LLC v. Qatar, No. CV 18-2421-JFW(Ex), 2018

WL 9943551, at *7 (C.D. Cal. Aug. 22, 2018) (“[T]he location of the servers appears to be

‘random,’ ‘fortuitous,’ or ‘attenuated’ to Defendants’ purported actions and intent to hack


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Plaintiffs’ computer systems and accounts to obtain confidential and private information[.]”);

Future World Elecs., LLC v. Results HQ, LLC, No. CV 17-17982, 2018 WL 2416682, at *3 (E.D.

La. May 29, 2018) (“Here, the location of the server in Louisiana was fortuitous. There is no

indication that either plaintiff or defendants had any control over the server’s location, or that the

location had any bearing on defendants’ conduct.”); Rosen v. Terapeak, Inc., No. CV-15-00112-

MWF (Ex), 2015 WL 12724071, at *9 (C.D. Cal. Apr. 28, 2015) (rejecting personal jurisdiction

based on the “use of eBay servers in California to obtain . . . photographs”).1 Had Apple’s servers

been located in Canada, Ireland, or the UAE, Plaintiff’s allegations regarding the parties’

intentional conduct would be the same. Because “none of [the] challenged conduct had anything

to do with [the United States] itself,” the location of the servers is not “a proper basis for

jurisdiction.” Walden, 571 U.S. at 289, 290.

       Even if intentionally targeting servers that happened to be located in the United States could

constitute “express aiming” in some circumstances, Plaintiff’s allegations would still not be

enough. The gravamen of Plaintiff’s Complaint is not that DarkMatter intentionally targeted

Apple’s U.S. servers; it is that DarkMatter targeted her.        And her allegations of supposed

“targeting” of Apple’s servers are hyper-technical descriptions of Apple’s processes that are

triggered by anyone who sends iMessages to an iPhone located anywhere in the world. Indeed,

those descriptions appear to have been cribbed from Apple’s website generally describing how

iMessaging works. Compare ECF 1 ¶¶ 89, 90 (alleging DarkMatter “retriev[ed]” Plaintiff’s

“encryption and routing information from Apple’s identity servers,” “encrypt[ed] the iMessage,”


1
 See also Man-D-Tec, Inc. v. Nylube Prods. Co., No. CV-11-1573-PHX-GMS, 2012 WL 1831521,
at *2 (D. Ariz. May 18, 2012); Browne v. McCain, 612 F. Supp. 2d 1118, 1124 (C.D. Cal. 2009);
Chang v. Virgin Mobile USA, LLC, No. 3:07-CV-1767-D, 2009 WL 111570, at *3 (N.D. Tex. Jan.
16, 2009); Doe v. Geller, 533 F. Supp. 2d 996, 1009 (N.D. Cal. 2008); Ray v. Experian, No. 3:07-
cv-1114-R, 2008 WL 4245459, at *3 (N.D. Tex. Nov. 30, 2007).

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and “sen[t] the iMessage to the Apple Push Notification Service”), with Apple Platform Security,

iMessage security overview at 178 (May 2022), https://help.apple.com/pdf/security/en_US/apple-

platform-security-guide.pdf (when a user sends an iMessage to a phone number or email address,

“the device contacts the Apple Identity Service” to “retrieve” the encryption and routing

information of the “addressee”), and Apple Platform Security, how iMessage sends and receives

messages securely (Feb. 18, 2021), https://support.apple.com/guide/security/how-imessage-sends-

and-receives-messages-sec70e68c949/1/web/1 (outgoing iMessages are “individually encrypted”

before being “dispatched to the APNs [Apple Push Notification Service] for delivery”).

       Plaintiff’s allegations thus boil down to the idea that by hitting “send,” an iMessage user

triggers Apple’s automated encryption, routing, and delivery process through servers that happen

to be based in the United States, and thereby subjects the sender to personal jurisdiction in the

United States. (See ECF 1 ¶¶ 89-104.) Without more, any nexus to the United States necessarily

results from Apple’s “fortuitous” connection to the United States—i.e., a “third party[’s]” decision

to host servers here, rather than abroad—and not the sender’s “intentional conduct.” Walden, 571

U.S. at 286. Otherwise, federal courts would presumptively have personal jurisdiction over any

foreign party with no connection to the United States other than that their claims involve iMessages

that Apple has unilaterally chosen to route through U.S. servers. Given that the United States hosts

servers from many of the largest communications technology companies in the world—Google,

Twitter, and Microsoft, to name a few—Plaintiff’s theory would result in essentially universal

jurisdiction over a truly breathtaking scope of claims involving communications between wholly

foreign parties. Cf. Man-D-Tec, 2012 WL 1831521, at *2 (“If the mere location of a server could

create personal jurisdiction, any state where a server is located would have personal jurisdiction

over any user of that server.”).     This Court should reject that untenable result.       Because



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DarkMatter’s alleged conduct was not “expressly aimed at” the United States, the Court should

dismiss the Complaint. See AMA, 970 F.3d at 1209 (applying Calder, 465 U.S. 783).

                   b. DarkMatter’s Alleged Conduct Did Not Cause Harm That DarkMatter
                      Knew Would Likely Be Suffered In The United States

       Plaintiff’s allegations also fail to establish purposeful direction under the Ninth Circuit’s

“effects test” because they do not establish that DarkMatter “caus[ed] harm that the defendant

knows is likely to be suffered in the forum[.]” AMA, 970 F.3d at 1209. Plaintiff must allege that

the United States was “the forum in which the defendant’s actions were felt, whether or not the

actions themselves occurred within the forum.” Yahoo! Inc. v. La Ligue Contre Le Racisme Et

L’Antisemitisme, 433 F.3d 1199, 1205-1206 (9th Cir. 2006) (en banc). In other words, the

“defendant’s actions” must have been “performed for the very purpose of having their

consequences felt in the forum state.” Brown v. Service Grp. of Am., Inc., No. 3:20-cv-2205-IM,

2022 WL 43880, at *3 (D. Or. Jan. 5, 2022) (quoting Brainerd v. Governors of the Univ. of Alberta,

873 F.2d 1257, 1260 (9th Cir. 1989)); see also Walden, 571 U.S. at 290 (even “injury to a forum

resident” is insufficient unless “defendant’s conduct connects him to the forum in a meaningful

way”). Thus, at a minimum, “some significant amount of harm” must have been “suffered” in the

forum for the Complaint to survive a motion to dismiss. Dole Food Co. v. Watts, 303 F.3d 1104,

1112-1113 (9th Cir. 2002); see also AMA, 970 F.3d at 1212 (dismissing case where “the United

States was not ‘the focal point . . . of the harm suffered’”) (quoting Walden, 517 U.S. at 287).

       Plaintiff’s allegations do not come close to showing that DarkMatter caused significant and

foreseeable harm in the United States. Plaintiff alleges that she was harmed only in the UAE and

Saudi Arabia and does not allege any harm suffered in the United States, let alone harm that

DarkMatter knew was “likely to be suffered” there. AMA, 970 F.3d at 1209. On the contrary,

Plaintiff’s allegations negate the possibility that the “very purpose” of DarkMatter’s actions was


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to cause harm that would be “felt” in the United States, Brown, 2022 WL 43880, at *3, given that

Plaintiff repeatedly alleges that DarkMatter’s purpose was to provide information to foreign

governments, ultimately leading to harm abroad. (ECF 1 ¶¶ 112-130.) The lack of U.S. harm thus

provides an independent basis for dismissal. See Brown, 2022 WL 43880, at *3 (dismissing

complaint for failure to establish defendant knew harm would likely be suffered in Oregon);

Broidy, 2018 WL 9943551, at *7-8 (dismissing complaint alleging hacking of servers located in

the forum in part because “it was not foreseeable that the . . . Defendants’ conduct in other forums

was likely to cause harm in” the forum); Traeger Pellet Grills, LLC v. Deadwood Biofuels, LLC,

No. 3:11-cv-01221-JE, 2012 WL 4040211, at *5 (D. Or. June 21, 2012) (even though defendant’s

“efforts may have been intentionally directed toward Oregon,” dismissal was appropriate because

defendant’s actions did not “cause[] harm that [defendant] knew would likely be suffered in

[Oregon]”).

               2. Plaintiff’s Claims Do Not Arise Out Of Or Relate To DarkMatter’s U.S.
                  Contacts

       Plaintiff’s allegations against DarkMatter also fail the second prong of the minimum

contacts test, which requires that the plaintiff’s claims “arise out of or relate to the defendant’s

contacts with the forum.” Ford, 141 S. Ct. at 1025 (internal quotation marks omitted). That means

“there must be an affiliation between the forum and the underlying controversy, principally, an

activity or an occurrence that takes place in the forum . . . and is therefore subject to [its]

regulation.” Id. (internal quotation marks and alteration omitted). This connection between the

plaintiff’s claims and the United States must be substantial enough that, based on the defendant’s

litigation-related conduct, the defendant can “reasonably anticipate” its “exposure” to suit in the

United States—such as when the defendant “enjoys the benefits and protection of [the forum’s]

laws.” Id. at 1027, 1029.


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       For the reasons noted above, Plaintiff’s claims do not “arise out of or relate to” any

intentional contacts between DarkMatter and the United States. Ford, 141 S. Ct. at 1025. Plaintiff

has not alleged the existence of any litigation-related contacts with the United States.2 And

DarkMatter certainly did not enjoy the benefit or protection of United States law, or otherwise do

anything that could lead it to “reasonably anticipate” being haled into U.S. court, merely by

allegedly sending a text message from a location abroad to a phone located abroad. See id. at 1027.

               3. Exercising Jurisdiction Over DarkMatter Would Be Unreasonable

       Finally, Plaintiff’s allegations fail the third prong of the minimum contacts test because

exercising jurisdiction over DarkMatter would be unreasonable. “To evaluate reasonableness,”

the Ninth Circuit applies “a seven-factor balancing test,” weighing:

       (1) the extent of the defendant’s purposeful interjection into the forum state’s
       affairs; (2) the burden on the defendant of defending in the forum; (3) the extent of
       conflict with the sovereignty of the defendant’s [home forum]; (4) the forum state’s
       interest in adjudicating the dispute; (5) the most efficient judicial resolution of the
       controversy; (6) the importance of the forum to the plaintiff’s interest in convenient
       and effective relief; and (7) the existence of an alternative forum.

Freestream, 905 F.3d at 607. The Supreme Court has warned that “[g]reat care and reserve should

be exercised when extending our notions of personal jurisdiction into the international field.”

Asahi Metal Indus. Co. v. Superior Ct. of Cal., Solano Cnty., 480 U.S. 102, 115 (1987). Thus,

courts should not “find the serious burdens on an alien defendant outweighed by minimal interests

on the part of the plaintiff or the forum.” Id. But that is precisely what Plaintiff asks this Court to

do. Indeed, all seven factors weigh against exercising personal jurisdiction over DarkMatter:


2
  Many of Plaintiff’s allegations have no connection to her causes of action. For example, Plaintiff
alleges that the UAE previously contracted with a U.S. company to develop and use hacking
technology, and that DarkMatter has used the same technology and employees as that U.S.
company. (See ECF 1 ¶¶ 52-67.) But only DarkMatter’s contacts related to Plaintiff’s claims can
support personal jurisdiction—the general history of DarkMatter, its technology, and its employees
is irrelevant. At a minimum, such historical contacts cannot establish “express aiming” for the
alleged tort at issue here. AMA, 970 F.3d at 1209 n.5.

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       1. texting a foreign person’s iPhone from a location abroad to a location abroad
          presents no “purposeful interjection” in the United States’ affairs, see
          Hungerstation, 857 F. App’x at 352 (purposeful interjection “negligible” when
          alleged misconduct “aimed at a nonresident”) (quoting Paccar Int’l, Inc. v.
          Commercial Bank of Kuwait, S.A.K., 757 F.2d 1058, 1065 (9th Cir. 1985));

       2. DarkMatter, a UAE company with no U.S. connections, would be significantly
          burdened defending a lawsuit in this distant forum, see Asahi, 480 U.S. at 114
          (“The unique burdens placed upon one who must defend oneself in a foreign
          legal system should have significant weight in assessing the reasonableness of
          stretching the long arm of personal jurisdiction over national borders.”);

       3. there is an obvious conflict with the sovereignty of DarkMatter’s home forum
          because Plaintiff’s allegations concern events that occurred largely in the UAE
          and directly implicate the UAE government, see, e.g., Paccar, 757 F.2d at 1065
          (conflict with sovereignty due to foreign government’s interest in the dispute,
          even without the sort of “foreign policy overtones” present here);

       4. the United States has no apparent interest in adjudicating this dispute between
          foreign companies and foreign residents regarding foreign conduct, see, e.g.,
          Asahi, 480 U.S. at 114 (forum’s interest at least “considerably diminished” in a
          dispute between foreign parties), let alone in encouraging the filing of a
          potentially limitless number of claims involving foreign electronic
          communications that merely pass through U.S. servers;

       5. resolving the controversy here would be inefficient because all relevant parties,
          documents, and witnesses are located abroad, see, e.g., Hungerstation, 857 F.
          App’x at 352;

       6. for the same reason, Plaintiff’s interest in convenient and effective relief in this
          forum is diminished, see id.; and

       7. Plaintiff has not shown or even alleged that alternative forums are unavailable,
          see id.

In light of these factors, there is a “compelling case that the exercise of jurisdiction would not be

reasonable.” Schwarzenegger, 374 F.3d at 802 (internal quotation marks omitted).

       For each of the above reasons, the Court does not have personal jurisdiction over

DarkMatter.




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       C. The Court Lacks Personal Jurisdiction Over Individual Defendants Marc Baier
          and Daniel Gericke

       Plaintiff also states that Baier and Gericke are subject to this Court’s personal jurisdiction

under Rule 4(k)(2). But the complaint merely assumes that the Court has specific personal

jurisdiction over Baier and Gericke based on the same allegations regarding DarkMatter’s use of

Apple servers to access Plaintiff’s iPhone. As discussed, those allegations are not enough.

       Even if otherwise, the allegations as to Baier and Gericke are weaker than those related to

DarkMatter. Plaintiff does not allege that Baier or Gericke accessed her iPhone or had any role in

the alleged scheme. She alleges that Baier and Gericke merely participated in the general

development of DarkMatter’s alleged hacking capabilities and had inauthentic Apple accounts.

And while the Complaint alleges that Baier and Gericke entered into deferred prosecution

agreements based on their employment with DarkMatter, it does not allege that the agreements had

anything to do with actions taken against Plaintiff (and in fact, those agreements do not refer to

Alhathloul explicitly or implicitly).3

       D. The Court Lacks Personal Jurisdiction Over Individual Defendant Ryan Adams

       Plaintiff alleges that Adams is subject to the Court’s personal jurisdiction because “[o]n

information and belief,” he is “domiciled” in Oregon. (ECF 1 ¶¶ 9, 12.) But in fact, Adams is not

domiciled in Oregon. (See Adams Decl. ¶ 2.) Although his wife’s family lives there, Adams has

never resided in Oregon. (Id. ¶¶ 3, 7.) He does not own (and has never owned) real property in

Oregon, does not have (and has never had) an Oregon driver’s license, and is not (and has never



3
  The Complaint’s allegation that Baier is a United States citizen (ECF 1 ¶ 7), does not give rise to
personal jurisdiction. See Pebble Beach Co. v. Caddy, 453 F.3d 1151, 1153, 1160 (9th Cir. 2006)
(no personal jurisdiction under Rule 4(k)(2) even though the defendant, located in England, was a
U.S. citizen). And because Baier and Gericke are domiciled in the UAE and Singapore,
respectively, substantially the same “reasonableness” analysis that applies to DarkMatter applies
to them.

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been) an Oregon voter. (Id. ¶¶ 4, 5, 6.) Nor does the Complaint contain any other allegations

connecting Adams to Oregon.

        Thus, Plaintiff has failed to establish that jurisdiction over Adams is proper under the

Oregon long-arm statute. See OR. R. CIV. P. 4.         Plaintiff alleges no other basis for exercising

jurisdiction over Adams. Regardless, Rule 4(k)(2) does not provide jurisdiction over Adams for

the same reasons that it does not provide jurisdiction over Baier and Gericke.

 II.    PLAINTIFF FAILS TO STATE A CLAIM FOR WHICH RELIEF MAY BE
        GRANTED

        Under Rule 12(b)(6), a complaint must plead facts that, if accepted as true, would “state a

claim for relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A claim

is plausible “when the plaintiff pleads factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id.

        A. Plaintiff’s CFAA Claim (Count One) Should Be Dismissed

        The CFAA, a criminal statute prohibiting unauthorized computer access, provides a civil

cause of action for “[a]ny person who suffers damage or loss by reason of a violation” of the statute

in certain circumstances. 18 U.S.C. § 1030(g). Plaintiff fails to state a claim under the CFAA for

two reasons: she fails to plausibly link any Defendant to the unauthorized computer access, and

her allegations fail to satisfy the statutory “loss” standard.

                1. The Complaint Contains No Well-Pleaded Facts Supporting The CFAA Claim

        The Complaint spends over one hundred paragraphs describing Plaintiff’s background,

alleged actions by non-defendants UAE and Saudi Arabia, the individual Defendants’ alleged work

for another company, the individuals Defendants’ alleged work for DarkMatter, alleged hackings

of individuals not party to this action, and DarkMatter’s alleged hacking technology and

methodology. But notably absent is a non-speculative, non-conclusory connection between


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Defendants and the crucial factual basis for Plaintiff’s CFAA claim: the alleged unauthorized

access of her iPhone.

       With regard to DarkMatter, only six paragraphs allege any connection between DarkMatter

and the access of Plaintiff’s device, and those are either explicitly based on “information and

belief,” i.e., speculative (ECF 1 ¶¶ 104, 108-110, 112), or conclusory (id. ¶ 107). Plaintiff’s failure

to plead specific, non-conclusory facts dooms her claims against DarkMatter. See Iqbal, 556 U.S.

at 679 (“[C]onclusions[] are not entitled to the assumption of truth.”).

       While the allegations regarding DarkMatter are facially speculative, those regarding the

individual Defendants are entirely absent. The Complaint alleges zero factual basis for concluding

that Baier, Adams, or Gericke participated in the alleged hacking of Plaintiff’s iPhone. The

Complaint alleges only that they worked for a U.S.-based company called CyberPoint, later

worked for DarkMatter, developed the companies’ alleged hacking capabilities, directed their

hacking operations, and had inauthentic Apple accounts. (ECF 1 ¶¶ 7-9, 57-65, 67-73, 78, 84-86,

131-132.) While the allegations about their career paths and work are detailed, none implicates

them in the tortious activity at the heart of this lawsuit: the alleged hacking of Plaintiff’s phone.

The Complaint additionally alleges that Baier, Adams, and Gericke entered into a deferred

prosecution agreement based on their employment with CyberPoint and DarkMatter. (Id. ¶¶ 3, 7-

9, 131-132.) But again, Plaintiff does not allege that the agreement concerns the alleged hacking

of her phone. Indeed, the agreement makes no mention of Plaintiff. Her insinuation that the

agreement somehow implicates Baier, Adams, and Gericke in the alleged hacking cannot save

Plaintiff’s claim from dismissal. See Iqbal, 556 U.S. at 678 (“Where a complaint pleads facts that

are ‘merely consistent with’ a defendant’s liability, it ‘stops short of the line between possibility




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and plausibility of ‘entitlement to relief.’”) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 557

(2007)).

                2. The CFAA Claim Fails To Meet the Statutory Requirements

       Beyond failing to plead specific facts connecting any Defendant to the alleged hacking of

Plaintiff’s iPhone, Plaintiff fails to allege concrete facts that would satisfy any of the required

statutory factors for a civil action under the CFAA. The CFAA authorizes a civil cause of action

only if a person “suffers damage or loss by reason of a violation” of the statute, and that violation

involves one of five factors specified in the statute. 18 U.S.C. § 1030(g). The CFAA defines

“damage” as “any impairment to the integrity or availability of data, a program, a system, or

information,” id. § 1030(e)(8), and defines “loss” as “any reasonable cost to any victim, including

the cost of responding to an offense, conducting a damage assessment, and restoring the data,

program, system, or information to its condition prior to the offense, and any revenue lost, cost

incurred, or other consequential damages incurred because of interruption of service,” id.

§ 1030(e)(11). “The statutory definitions of ‘damage’ and ‘loss’ thus focus on technological

harms—such as the corruption of files—of the type unauthorized users cause to computer systems

and data.” Van Buren v. United States, 141 S. Ct. 1648, 1660 (2021); accord hiQ Labs, Inc. v.

LinkedIn Corp., 31 F.4th 1180, 1195 n.12 (9th Cir. 2022) (quoting Van Buren). “Limiting ‘damage’

and ‘loss’ in this way makes sense in a scheme ‘aimed at preventing the typical consequences of

hacking.’” Van Buren, 141 S. Ct. at 1660 (quoting Royal Truck & Trailer Sales & Serv., Inc. v.

Kraft, 974 F.3d 756, 760 (6th Cir. 2020)).

       Plaintiff relies on the first and third factors: “loss to 1 or more persons during any 1-year

period . . . aggregating at least $5,000 in value,” 18 U.S.C. § 1030(c)(4)(A)(i)(I); and “physical

injury to any person,” id. § 1030(c)(4)(A)(i)(III). (ECF 1 ¶ 139.) The allegations of the Complaint

do not support either.
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                   a. The Complaint Fails To Allege Facts Establishing A Loss Of At Least
                      $5,000

        To establish the first statutory factor, a plaintiff’s losses “during any 1-year period [must]

. . . aggregate[e] at least $5,000 in value.” 18 U.S.C. § 1030(c)(4)(A)(i)(I). But the CFAA’s

definition of “loss” encompasses only “technological harms” and consequential damages resulting

from interrupted service. Van Buren, 141 S. Ct. at 1660 (describing 18 U.S.C. § 1030(e)(11)). This

definition of “loss” is “narrow,” and establishes “limited parameters.” Andrews v. Sirius XM Radio

Inc., 932 F.3d 1253, 1262-1263 (9th Cir. 2019).

        Plaintiff’s assertion that she suffered losses that amount to over $5,000 does nothing more

than track the statutory standard: “Ms. Alhathloul suffered loss aggregating at least $5,000 in value.

This loss includes costs incurred due to responding to the hack, conducting a damage assessment,

and attempting to restore data.” (ECF 1 ¶ 154.) That allegation provides no factual content that

would support a reasonable inference that Plaintiff incurred costs that meet the statutory minimum.

Such “[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice” to state a claim. Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at

555).

        None of the Complaint’s further allegations of loss meet the first statutory requirement,

either. Plaintiff’s alleged lost access to files is not quantified (ECF ¶ 156), so does not satisfy the

value requirement. See Brooks v. Agate Res., Inc., No. 6:15-CV-00983-MK, 2019 WL 2635594,

at *24 (D. Or. Mar. 25, 2019), report and recommendation adopted, 2019 WL 2156955 (D. Or.

May 14, 2019), aff’d, 836 F. App’x 471 (9th Cir. 2020) (plaintiff failed to allege loss of at least

$5,000 where he failed to quantify alleged damages and failed to allege losses within meaning of

CFAA). Nor do Plaintiff’s alleged business and economic losses, which are not caused by

interruption of service (ECF 1 ¶¶ 157, 159-160), fall within the “limited parameters” of the


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statutory definition of loss. See 18 U.S.C. § 1030(e)(11) (“other consequential damages incurred

because of interruption of service”) (emphasis added); Andrews, 932 F.3d at 1263 (“[A]lthough

the definition does include ‘revenue lost,’ that refers only to losses that occurred ‘because of

interruption of service.’”); Brooks, 2019 WL 2635594, at *24 (same); contra Simmonds Equip.,

LLC v. GGR Int’l, Inc., 126 F. Supp. 3d 855, 865 (S.D. Tex. 2015) (lost business opportunity

qualified as “consequential damages” because it resulted from an interruption in service).

       The statutory definition also does not encompass replacement of family members’ devices

that are not alleged to have been accessed (ECF 1 ¶ 155), see 18 U.S.C. § 1030(e)(11) (defining

“loss” as “any reasonable cost to any victim …”) (emphasis added), and Plaintiff has not quantified

the cost of those replacements in any event. Finally, Plaintiff’s alleged loss of a vehicle (ECF 1

¶ 158) falls outside the CFAA’s definition of loss because does not reflect technological harm or

consequential damages resulting from interrupted service, and was not directly caused by the

alleged hacking. Van Buren, 141 S. Ct. at 1660; Andrews, 932 F.3d at 1263 (“The [CFAA’s] ‘loss’

definition—with its references to damage assessments, data restoration, and interruption of

service—clearly limits its focus to harms caused by computer intrusions, not general injuries

unrelated to the hacking itself.”); Fraser v. Mint Mobile, LLC, No. C 22-00138 WHA, 2022 WL

1240864, at *5 (N.D. Cal. Apr. 27, 2022) (holding that theft of cryptocurrency after cryptocurrency

account was accessed through hacking of cell phone “does not constitute loss related to a computer

or system,” and “find[ing] that this type of damage or loss is not recognized by the CFAA”) (citing

Andrews, 932 F.3d at 1263).

       Accordingly, this Court should dismiss the CFAA claim based on Plaintiff’s insufficient

“loss” allegations, as district courts regularly do in similar circumstances. See, e.g., Andrews, 932

F.3d at 1263 (affirming district court’s denial of leave to amend complaint to assert CFAA claim



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on futility grounds where alleged loss did not satisfy statutory definition); Fraser, 2022 WL

1240864, at *5 (dismissing CFAA claim because loss and damage not encompassed by CFAA

definition); Brooks, 2019 WL 2635594, at *25 (dismissing CFAA claim for failure to allege loss

covered by statutory definition, among other defects); Ramirez v. SupportBuddy Inc., No. 17-cv-

5781 (VB), 2018 WL 2089362, at *4 (S.D.N.Y. May 4, 2018) (dismissing CFAA claim because

“plaintiff fail[ed] to quantify her alleged costs or make specific allegations as to the costs of

repairing or investigating the alleged damage to her computer”) (citing Bose v. Interclick, Inc., No.

10-cv-9183 (DAB), 2011 WL 4343517, at *4 (S.D.N.Y. Aug. 17, 2011)); Jensen v. Cablevision

Sys. Corp., No. 17-cv-00100 (ADS)(AKT), 2017 WL 4325829, at *13 (E.D.N.Y. Sept. 27, 2017)

(dismissing CFAA claim where plaintiff “fail[ed] to allege enough damages or loss to meet the

[$5,000 minimum] requirement under the CFAA”); Del Vecchio v. Amazon.com, Inc., No. C11-

366 RSL, 2012 WL 1997697, at *4 (W.D. Wash. June 1, 2012) (same).

                   b. The Complaint Fails To Allege Facts Establishing Physical Injury

       Plaintiff also argues that she suffered loss due to “physical injury to any person.” 18 U.S.C.

§ 1030(c)(4)(A)(i)(III). That phrase is meant to encompass injury that is actually “caused (or, in

the case of an attempted offense, would, if completed, have [been] caused),” by the statutory

violation. Id. § 1030(c)(4)(B)(i). In other words, and consistent with the way “loss” is interpreted

under the CFAA more broadly, the physical injury must stem from the unauthorized access itself,

“not damages that flow from the use of unlawfully obtained information.” Fraser, 2022 WL

1240864, at *5 (emphasis added); see also Andrews, 932 F.3d at 1263 (CFAA does not cover

“general injuries unrelated to the hacking itself”); Bank of Am. Corp. v. City of Miami, 137 S. Ct.

1296, 1306 (2017) (observing that statutes that are “analogous” to common-law torts are subject

to “directness principles” from common law, including “some direct relation between the injury

asserted and the injurious conduct alleged”). Limiting covered physical injuries to those that are
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a direct consequence of an unauthorized breach “makes sense in a scheme ‘aimed at preventing

the typical consequences of hacking.’” Van Buren, 141 S. Ct. at 1660 (quoting Royal Truck, 974

F.3d at 760).

       This reading is supported by the legislative history, which evidences Congress’ intent to

cover physical injuries directly resulting from disruption of computers and computer networks.

The Senate Report to the amendment of the CFAA adding “physical injury to any person” to the

definition of “damage” explains that Congress was concerned about physical injury caused by

interference with computers used in health and safety services:

       The bill addresses two other concerns [in addition to significant financial losses and
       potential impact on medical treatment]: causing physical injury to any person . . .
       and threatening the public health or safety . . . . As the [National Information
       Infrastructure] and other network infrastructures continue to grow, computers will
       increasingly be used for access to critical services such as emergency response
       systems and air traffic control, and will be critical to other systems which we cannot
       yet anticipate. Thus, the definition of ‘damage’ is amended to be sufficiently broad
       to encompass the types of harm against which people should be protected.

S. REP. No. 104-357, at 11 (1996).4 Thus, when Congress added the phrase “physical injury to any

person” to the statute, it did so “with a focus on the harm that the [CFAA] seeks to prevent,” id.—

namely, technological harms that directly cause physical injury. The term does not include injury

resulting from misuse of information obtained via unauthorized access.

       The physical injury Plaintiff alleges was not directly caused by the unauthorized access of

any computer or network, and did not result from the alleged technological harm. Rather, the

Complaint alleges that her physical injury was caused by an independent, intervening cause—

namely, the Saudi security forces who allegedly harmed her. (ECF 1 ¶¶ 124-125, 130.) To be sure,


4
  Subsequent amendments moved the “physical injury to any person” factor, along with the other
statutory factors, from the definition of “damage” to their present location at § 1030(c)(4)(A)(i).
Pub. L. No. 110-326, § 204(a), 122 Stat. 3560 (2008); Pub. L. No. 107-56, § 814(a), 115 Stat. 272
(2001).

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the Complaint alleges that the Saudi forces used information obtained through the alleged hacking

to target and locate Plaintiff.   (Id. ¶ 130.)    But consequential physical injuries caused by

independent actions of third parties who choose to commit heinous crimes like torture are

unmistakably “damages that flow from the use of unlawfully obtained information,” Fraser, 2022

WL 1240864, at *5 (emphasis added)—and thus are not harms the CFAA addresses.

       B. Plaintiff’s CFAA Conspiracy Claim (Count Two) Should Be Dismissed

       Plaintiff’s claim for conspiracy to violate the CFAA is also deficient, for two reasons. First,

because Plaintiff’s standalone CFAA claim fails, the conspiracy claim cannot survive either. See

Andersen v. Atlantic Recording Corp., No. 07-CV-934-BR, 2010 WL 1798441, at *4 (D. Or. May

4, 2010) (dismissing civil conspiracy claim where underlying claim failed) (citing Oregon

Laborers–Emp’rs Health & Welfare Tr. Fund v. Phillip Morris, 185 F.3d 957, 969 (9th Cir. 1999)).

Indeed, the Complaint is bereft of a single, non-conclusory allegation that the Defendants had an

agreement to commit violations of the CFAA, as her CFAA conspiracy claim requires. See Schmitz

v. Mars, Inc., 261 F. Supp. 2d 1226, 1233 (D. Or. 2003).

       Second, Plaintiff’s CFAA conspiracy claim is barred by the intra-corporate conspiracy

doctrine, which provides that “an agreement between or among agents of the same legal entity,

when the agents act in their official capacities, is not an unlawful conspiracy.” Ziglar v. Abbasi,

137 S. Ct. 1843, 1867 (2017). A fundamental element of a claim for conspiracy is an allegation of

an agreement between two or more persons. Schmitz, 261 F. Supp. 2d at 1233. Because a

corporation, its agents, and employees are considered a single entity, however, “concerted action

by officers within a single corporate entity cannot give rise to liability for conspiracy.” Cool

Runnings Int’l Inc. v. Gonzalez, No. 1:21-CV-00974-DAD-HBK, 2021 WL 5331453, at *14 (E.D.

Cal. Nov. 16, 2021) (dismissing claim for conspiracy to violate CFAA).



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       Plaintiff asserts a claim for conspiracy against Defendants DarkMatter, Baier, Gericke, and

Adams. (ECF 1 ¶ 166.) But Plaintiff alleges that the three individual defendants are DarkMatter

employees (see id. ¶ 1), and that all relevant acts were taken within the scope of their employment.

For instance, Defendants are alleged to have participated in a “cyber-surveillance program known

as Project Raven” that was “operated” by DarkMatter. (Id. ¶ 6.) Plaintiff alleges that “Defendants

Baier, Adams, and Gericke supported, directed, and supervised DarkMatter in creating the Karma

hacking system” that forms the basis of Plaintiff’s claims. (Id. ¶ 85.) And she alleges that

Defendants are liable for their actions “arising out of their conduct while employees” at

DarkMatter. (Id. ¶ 131.) Because these Defendants cannot conspire with each other as a matter

of law, Plaintiff’s conspiracy claim should be dismissed. See, e.g., Cool Runnings, 2021 WL

5331453, at *14; Hunt v. City of Portland, No. CV 08-802-AC, 2008 WL 11389551, at *9 (D. Or.

Nov. 19, 2008), report and recommendation adopted, 2008 WL 11389544 (D. Or. Dec. 18, 2008)

(dismissing claims and noting that “[t]he intracorporate conspiracy exception, which originated in

the antitrust arena, provides that employees are deemed incapable of conspiring among themselves

or with their employer when they are acting as agents of the employer”); Hoefer v. Fluor Daniel,

Inc., 92 F. Supp. 2d 1055, 1058 (C.D. Cal. 2000) (dismissing statutory claims under the intra-

corporate conspiracy doctrine).

III.   PLAINTIFF’S ATS CLAIM (COUNT THREE) SHOULD BE DISMISSED

       Plaintiff brings a claim for violation of the Alien Tort Statute (“ATS”) against the individual

Defendants only, alleging that they engaged in “persecution” (an alleged crime against humanity)

by acting as agents of DarkMatter in hacking the electronic devices of Plaintiff and others not

before the court. (ECF 1 ¶ 172.) The Court should dismiss this claim for lack of subject matter

jurisdiction. See FED. R. CIV. P. 12(b)(1); Nestlé USA, Inc. v. Doe, 141 S. Ct. 1931, 1936 (2021)

(ATS is “purely jurisdictional”). That is so for two independent reasons: (1) Plaintiff’s allegations
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concern entirely extraterritorial conduct; and (2) they do not describe a violation of a recognized

norm of international law.

       First, Plaintiff impermissibly seeks extraterritorial application of the ATS. Conduct that

occurs entirely or primarily abroad is beyond the scope of the statute. See Kiobel v. Royal Dutch

Petroleum Co., 569 U.S. 108 (2013) (holding that ATS claims are subject to the presumption

against extraterritoriality); see, e.g., Hmong I v. Lao People’s Democratic Republic, 748 F. App’x

136, 137 (9th Cir. 2019) (affirming dismissal of complaint for lack of jurisdiction because

“Plaintiff did not allege any domestic conduct”); Balintulo v. Daimler AG, 727 F.3d 174, 190 (2d

Cir. 2013) (“[I]f all the relevant conduct occurred abroad, that is simply the end of the matter.”).

“[E]ven where the claims touch and concern the territory of the United States” in some manner,

“they must do so with sufficient force to displace the presumption against extraterritorial

application.” Kiobel, 569 U.S. at 124-125. In other words, an ATS plaintiff must plead domestic

conduct that is relevant to the “focus” of the statute; peripheral or incidental domestic conduct is

not enough. Nestlé, 141 S. Ct. at 1936-1937; see id. at 1935 (no ATS jurisdiction even though

“defendant corporations allegedly made ‘major operational decisions’ in the United States”).

       Plaintiff seeks an impermissible extraterritorial application of the ATS. All alleged events

that are the “focus” of the ATS claim of “persecution” took place in the UAE or Saudi Arabia:

Plaintiff was allegedly arrested in the UAE and harmed in the UAE and Saudi Arabia. (ECF 1 ¶¶

20, 25-27, 116-123.) All of Defendants’ conduct is alleged to have occurred overseas as well, in

the UAE. Indeed, the Complaint alleges no U.S.-based conduct at all (other than the fortuitous

alleged contacts with U.S.-based servers described above). (Id. ¶ 105.) These allegations fall far

outside of the permissible territorial scope of the ATS and require dismissal. See, e.g., Nestlé, 141

S. Ct. at 1937; Doe I v. Cisco Sys., Inc., 66 F. Supp. 3d 1239, 1242 (N.D. Cal. 2014) (dismissing



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ATS claims on extraterritoriality grounds, despite allegations that defendants directed and planned

activities in San Jose, California, with “the primary goal of creating an online surveillance system

to enable and facilitate the suppression of dissident activity” abroad).

       Second, Plaintiff’s ATS claim should also be dismissed because the facts that Plaintiff

alleges give rise to “persecution” do not constitute a recognized tort on which an ATS claim may

be based. Traditionally, ATS claims encompassed only three underlying torts that were widely

accepted under international law when the ATS was created: violation of safe conducts,

infringement of the rights of ambassadors, and piracy. Sosa v. Alvarez–Machain, 542 U.S. 692,

724 (2004). Efforts to expand this list are both generally disfavored and closely scrutinized.

Accordingly, ATS liability is reserved for a “narrow set” of customary international law norms that

are “specific, universal, and obligatory” and have “definite content and acceptance among civilized

nations.” Id. at 721, 724, 729-732.

       As courts interpreting the ATS have warned, “[t]he ATS is no license for judicial

innovation.” Mamani v. Berzain, 654 F.3d 1148, 1152 (11th Cir. 2011). Instead, “federal courts

must act as vigilant doorkeepers and exercise great caution when deciding either to recognize new

causes of action under the ATS or to broaden existing causes of action.” Id. (citing Sosa, 542 U.S.

692); Moskovits v. Mercedes-Benz USA, LLC, No. 1:21-CV-20122-JEM/Becerra, 2022 WL

283001, at *18 (S.D. Fla. Jan. 10, 2022), report and recommendation adopted, 2022 WL 278959

(S.D. Fla. Jan. 31, 2022) (dismissing ATS claim premised on violation of the Universal Declaration

of Human Rights because plaintiff failed to allege that defendant “violated established

international law”). To do so, “courts should require any claim based on the present-day law of

nations to rest on a norm of international character accepted by the civilized world and defined




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with a specificity comparable to the features of the 18th-century paradigms we have recognized.”

Sosa, 542 U.S. at 725. Failure to do so is “fatal” to an ATS claim. Id.

       Plaintiff seeks to bring her ATS claim based on the individual Defendants’ alleged

conspiracy to commit, or aid and abet, the crime of “persecution.” (ECF 1 ¶¶ 173-174.) She

alleges that this persecution has taken the form of a “systematic or widespread attack on [a] civilian

population” of “perceived dissidents of the UAE and Saudi Arabia” to include “hacking the devices

and tracking the locations of members of the persecuted group; stealing their personal information;

imposing travel bans; and subjecting them to arbitrary arrests and detention, sham trials, torture,

enforced disappearances, extrajudicial killings, as well as harassment and abuse of their family

members.” (Id. ¶ 172.) As these claims pertain to her, Plaintiff essentially claims that the UAE

(through the individual Defendants, acting as the UAE’s supposed agents) used technology to spy

on her while she was physically present in the UAE.

       Even accepting those allegations as true, however, she cannot show that they amount to a

violation of “established international law,” i.e., “a norm of international character accepted by the

civilized world and defined with a specificity comparable to the features of the 18th-century

paradigms [the Supreme Court has] recognized,” such as piracy. Sosa, 542 U.S. at 725. Indeed,

no court has ever found that the sorts of activities carried out by the individual Defendants—

allegedly assisting a foreign sovereign’s surveillance of foreigners—constitutes an actionable ATS

claim. With good reason: accepting those allegations as sufficient would require opining as to the

legality of the sovereign activities of a foreign country taken on its own soil. See Broidy Cap.

Mgmt., LLC v. State of Qatar, 982 F.3d 582, 592 (9th Cir. 2020) (“The status of peacetime

espionage under international law is a subject of vigorous debate[.]”), cert. denied sub nom. Broidy

Cap. Mgmt., LLC v. Qatar, 141 S. Ct. 2704 (2021); Doe I v. Cisco Sys., Inc., No. 5:11-CV-02449-



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EJD, 2015 WL 5118004, at *4 (N.D. Cal. Aug. 31, 2015) (refusing to disturb dismissal of ATS

claims and noting that the “manner in which the Chinese Government chooses to enforce its laws

is a political question that is better suited for our executive and legislative branches of

government”).

       In any event, Plaintiff’s factual allegations—which concern only herself and three other

individuals (ECF 1 ¶¶ 74, 76-77)—would hardly constitute the sort of “sufficiently widespread—

or . . . sufficiently systematic” conduct that could “amount definitely to a crime against humanity

under already established international law.” Mamani, 654 F.3d at 1156 (dismissing allegations

that 70 people were killed and 400 were injured over a period of two months as insufficient to

allege the crime against humanity of extrajudicial killings). Thus, even if “persecution” in the

form of assisting a foreign sovereign’s electronic surveillance on foreign soil were a recognized

basis of ATS liability, her ATS claim would still fail.

IV.    PLAINTIFF’S AGENCY ALLEGATIONS, IF ACCEPTED AS TRUE, RENDER
       DEFENDANTS IMMUNE FROM SUIT

       Plaintiff alleges that all of the Defendants acted as agents of the UAE, i.e., that Defendants’

alleged actions were “for use against her by the security services of the [UAE].” (ECF 1 ¶ 1.) The

Complaint devotes two sections of its Statement of Facts to allegations that the UAE “utilized”

Defendants to target human rights activists. (Id. ¶¶ 60-77). And Plaintiff claims that her iPhone

was hacked as “part of the UAE’s campaign of persecution against perceived dissidents of itself

and Saudi Arabia.” (Id. ¶ 113). In other words, Plaintiff alleges that Defendants acted as agents

of the UAE—i.e., “on the [UAE’s] behalf and subject to the [UAE’s] control.” RESTATEMENT

(THIRD) OF AGENCY § 1.01; see Willis v. Nationwide Debt Settlement Grp., No. 3:11-CV-430-BR,

2012 WL 13055512, at *4 (D. Or. May 22, 2012) (“[T]o be an ‘agent’—using the well-defined

legal meaning of that term—two requirements must be met: (1) the individual must be subject to


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another’s control; and (2) the individual must ‘act on behalf of’ the other person.”) (quoting Vaughn

v. First Transit, Inc., 346 Or. 128, 136 (2009)).

       If Plaintiff’s agency allegations are accepted as true—as they must be on a motion to

dismiss—Defendants are entitled to common law conduct-based immunity. Samantar v. Yousuf,

560 U.S. 305, 321 (2010) (recognizing that common-law conduct-based immunity is afforded to

an “agent of [a foreign] state with respect to acts performed in his official capacity if the effect of

exercising jurisdiction would be to enforce a rule of law against the state”) (emphasis added). As

other circuits have recognized, even private entities acting at the direction of a foreign state may

be entitled to immunity from liability under common-law immunity principles. Butters v. Vance

Int’l, Inc., 225 F.3d 462, 466 (4th Cir. 2000) (recognizing derivative sovereign immunity under

Foreign Sovereign Immunities Act for private contractor, while applying common-law immunity

principles); Broidy Cap. Mgmt. LLC v. Muzin, 12 F.4th 789, 802 (D.C. Cir. 2021) (considering

common-law immunity claim of private contractor working for a foreign state, but ultimately

finding no immunity available based on facts).5 Such conduct-based immunity presents yet

another independent ground for dismissal.

                                          CONCLUSION

       For the foregoing reasons, the complaint should be dismissed.




5
  DarkMatter acknowledges that this argument is currently unavailable to DarkMatter under
WhatsApp Inc. v. NSO Group Technologies Limited, 17 F.4th 930, 940 (9th Cir. 2021), which
concluded that the Foreign Sovereign Immunities Act, rather than common-law immunity, governs
the sovereign immunity of non-natural persons. DarkMatter is therefore preserving the argument
in light of the petition for certiorari filed by the appellees in WhatsApp. Pet. for Writ of Cert., NSO
Grp. Technologies Ltd. v. WhatsApp Inc., No. 21-1338 (Apr. 8, 2022).

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                                   Respectfully submitted,

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